                                                          SO ORDERED.


                                                           Dated: May 15, 2017

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   3                                           DanielCOURT
                          UNITED STATES BANKRUPTCY   P. Collins, Chief Bankruptcy Judge
                                                          _________________________________
   4                                  DISTRICT OF ARIZONA
   5   In re:                                     In Proceedings under Chapter 11
   6                                              Case No. 2:15-bk-12003-DPC
       PHOENIX HELIPARTS, INC.,
   7
                                         Debtor. Adv. No. 2:16-ap-00331-DPC
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   9   Now Substantively Consolidated with
       PHOENIX HELI-SUPPORT, L.L.C.
  10   ROBERT REISH,
  11                                              AMENDED ORDER PARTIALLY
                         Plaintiff,               GRANTING PHOENIX HELIPARTS,
  12   v.                                         INC. LIQUIDATING TRUST’S
                                                  MOTION FOR SUMMARY
  13   PHOENIX HELIPARTS, INC                     JUDGMENT
  14   LIQUIDATION TRUST,

  15                 Defendant.
       PHOENIX HELIPARTS INC
  16   LIQUIDATION TRUST
  17
                         Counterclaimant,
  18   v.
  19
       ROBERT C. REISH and KATHLEEN
  20   REISH, husband and wife,
  21                     Counterdefendants,
  22
       PHOENIX HELIPARTS INC
  23   LIQUIDATION TRUST
  24
                         Third-Party Plaintiff,
  25   v.
  26   Ryuko, Inc., a Wyoming corporation,
  27
                        Third-Party Defendant.
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   1          This matter has come before this Court purusuant to Phoenix Heliparts, Inc.
   2   Liquidation Trust’s Motion for Summary Judgment (the “Motion for Summary
   3   Judgment”) (Dkt. 22) and the Plaintiffs and Counter-Defendants’ Opposition to
   4   Liquidating Trust’s Motion for Summary Judgment, Cross Motion for Summary
   5   Judgment, With Supporting Points and Authorities (the “Cross Motion for Summary
   6   Judgment”) (Dkt. 30). The Court has reviewed the Motion for Summary Judgment, the
   7   Cross Motion for Summary Judgment, and the responses thereto. After considering the
   8   arguments of the parties and counsel, and good cause appearing for the reasons fully set
   9   forth in the Court’s Under Advisement Ruling Denying the Reish Parties’ Cross Motion
  10   for Summary Judgment, and Partially Granting the Liquidating Trust’s Motion for
  11   Summary Judgment (the “Under Advisement Ruling”) entered May 4, 2017, at Docket
  12   Number 42, the Court enters the following judgment. The Under Advisement Ruling
  13   constitutes this Court’s findings of fact and conclusions of law, and
  14      IT IS HEREBY ORDERED and ADJUDGED as follows:
  15          1)     The aircraft commonly referred to as “229D” (FAA #1170229D) is hereby
  16                 determined to be property of the Phoenix Heliparts Liquidation Trust;
  17          2)     Final judgment is entered against Mr. and Mrs. Robert Reish and the Reish
  18                 marital community (“Reish Parties”) in favor of the Phoenix Heliparts
  19                 Liquidation Trust in the liquidated amount of $2,150,000 for the
  20                 unauthorized post-peition transfer of the aircraft commonly referred to as
  21                 41FF (FAA #0041FF) pursuant to 11 U.S.C. §550;
  22          3)     The Reish Parties’ Cross Motion for Summary Judgment is denied;
  23          4)     Count One of the Complaint herein (seeking to confirm the Reish Parties’
  24                 ownership of 41FF), and Count Two (seeking to confirm the Reish Parties’
  25                 ownership of the proceeds of the 41FF’s sale to AMOD) of the Reish
  26                 Complaint are dismissed with prejudice;
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   1       5)    The Phoenix Heliparts Liquidation Trust’s Motion for Summary Judgment
   2             as to Defendant Ryuko and the Section 548 claim raised in the Third Party
   3             Complaint are denied;
   4       6)    This order fully resolves all claims in this adversary proceeding between
   5             and among the the Phoenix Heliparts Liquidation Trust, Mr. and Mrs. Reish,
   6             and the Reish marital community, but does not resolve the Trustee’s
   7             outstanding objections to the Reish Parties’ claims filed in the Chapter 11
   8             proceedings.
   9       7)    Pursuant to F.R.C.P. Rule 54(b) and as incorporated by F.R. B. P. 7054(a),
  10             this Court expressly determines that there is no just reason for delay in the
  11             entry of a final judgment as to these claims and parties. This is a final
  12             appealable judgment. See, In re Bender, 586 F.3d 1159, 1163 (9th Cir.
  13             2009), quoting Firestone Tire & Rubber Co. v. Risjord, 449 U.S. 368, 373 (1981).
  14                         DATED AND SIGNED AS SHOWN ABOVE.

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